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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


     UNITED STATES OF AMERICA,

                   Plaintiff,

     v.                                                  Case No. 8:06-cr-515-T-30TBM

     OCTAVIUS JEFFERSON,

                   Defendant.
                                         /


                                             ORDER

                   THIS MATTER is before the court on Defendant Jefferson’s Second In

     Camera Ex Parte Motion to Withdraw (S-9). A hearing was conducted on July 25,

     2007, including a portion held in camera and ex parte with the Defendant and counsel.

                   Upon consideration, Defendant Jefferson’s Second In Camera Ex Parte

     Motion to Withdraw (S-9) is DENIED.

                   Done and Ordered in Tampa, Florida this 26th day of July 2007.




     Copies furnished to:
     Honorable James S. Moody, Jr.
     Patricia Kerwin, Assistant United States Attorney
     John Kingston, Attorney for Defendant
